     Case 2:21-cv-09062-GW-SK Document 4 Filed 12/03/21 Page 1 of 1 Page ID #:31

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


                                   CIVIL MINUTES – GENERAL

 Case No.       5:21-cv-9062-GW (SK)                                    Date     December 3, 2021
 Title          Servan Mahmoudi v. Alex Villanueva et al.


 Present: The Honorable        Steve Kim, United States Magistrate Judge
                   Connie Chung                                                n/a
                   Deputy Clerk                                     Court Smart / Recorder

            Attorneys Present for Plaintiff:                 Attorneys Present for Defendant(s):
                    None present                                         None present


 Proceedings:             (IN CHAMBERS) ORDER TO SHOW CAUSE

        Plaintiff is an inmate at Men’s Central Jail seeking to proceed in forma pauperis with a
civil rights complaint under 42 U.S.C. § 1983. But Plaintiff has not submitted a trust account
statement certified by prison officials as required by 28 U.S.C. § 1915. (See ECF 2). Without
that certified trust account statement, the Court cannot grant Plaintiff’s application to proceed
in forma pauperis.

       Therefore, Plaintiff is ORDERED TO SHOW CAUSE on or before Monday,
January 3, 2022, why his in forma pauperis application should not be denied for this
deficiency. To discharge this order, Plaintiff need only file a certified copy of his trust account
statement for the last six months (or else pay the full amount of the required filing fee). Failure
to do so or to file any other timely response to this order may lead to involuntary dismissal of
this action for failure to prosecute. See Fed. R. Civ. P. 41(b); L.R. 41-1.

         IT IS SO ORDERED.




CV-90 (10/08)                             CIVIL MINUTES - GENERAL                             Page 1 of 1
